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                                                                            2255,APPEAL,CUSTODY
                                U.S. District Court
       United States District Court − District of New Mexico (Albuquerque)
          CRIMINAL DOCKET FOR CASE #: 1:19−cr−00077−JB−SMV−1

   Case title: USA v. Nissen

   Related Case: 1:21−cv−00505−JB−SMV
   Magistrate judge case number: 1:18−mj−04031−SCY

  Date Filed: 01/10/2019

  Date Terminated: 06/18/2021

   Assigned to: District Judge James
   O. Browning
   Referred to: Magistrate Judge
   Stephan M. Vidmar
   Appeals court case number:
   21−2079 U.S. Court of Appeals

   Defendant (1)
   Michael Nissen                      represented by Jack (Hakop) J. Mkhitarian
   TERMINATED: 06/18/2021                             Jack Mkhitarian Attorney at Law LLC
                                                      1008 5th St. NW
                                                      Albuquerque, NM 87102
                                                      505−242−5225
                                                      Fax: 505−242−5227
                                                      Email: jackmk@icloud.com
                                                      TERMINATED: 09/11/2019
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained

                                                     Joe M. Romero , Jr.
                                                     Romero & Winder, PC
                                                     P.O. Box 25543
                                                     Albuquerque, NM 87125
                                                     505−843−9776
                                                     Fax: 505−212−0273
                                                     Email: joe@romeroandwinder.com
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: CJA Appointment

                                                     Kenneth Gleria
                                                     Kenneth A Gleria Attorney at Law
                                                     1008 5th St NW

                                                                                            DNM 1
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                                          Albuquerque, NM 87102
                                          505−243−7843
                                          Fax: 505−242−5188
                                          Email: kgleria45@comcast.net
                                          TERMINATED: 09/11/2019
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED
                                          Designation: Retained

                                          Susan M. Porter
                                          908 Lomas Blvd. NW
                                          Albuquerque, NM 87102
                                          505−312−7742
                                          Fax: 651−602−3655
                                          Email: sporterlaw@gmail.com
                                          TERMINATED: 02/24/2020
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED
                                          Designation: CJA Appointment

                                          Jack (Hakop) J. Mkhitarian
                                          (See above for address)
                                          TERMINATED: 09/11/2019
                                          Designation: Retained

                                          Melissa Ayn Morris
                                          Federal Public Defender's Office
                                          111 Lomas Blvd., N.W.
                                          Suite 501
                                          Albuquerque, NM 87102
                                          505−346−2489
                                          Fax: 505−346−2494
                                          Email: melissa_morris@fd.org
                                          TERMINATED: 03/28/2019
                                          Designation: Public Defender or Community
                                          Defender Appointment

   Pending Counts                         Disposition
   18:875(C): Interstate
   Communications Containing a            SENTENCE IMPOSED: CBOP−41 months
   Threat to Injure the Person of         concurrent; Supervised Release−3 years concurrent;
   Another                                SPA−$200; deft in custody
   (1)
   18:875(C): Interstate
   Communications Containing a            SENTENCE IMPOSED: CBOP−41 months
   Threat to Injure the Person of         concurrent; Supervised Release−3 years concurrent;
   Another                                SPA−$200; deft in custody
   (2)

   Highest Offense Level


                                                                                       DNM 2
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   (Opening)
   Felony

   Terminated Counts                        Disposition
   None

   Highest Offense Level
   (Terminated)
   None

   Complaints                               Disposition
                                            SENTENCE IMPOSED: CBOP−41 months
   18:875(c): Interstate
                                            concurrent; Supervised Release−3 years concurrent;
   Communication
                                            SPA−$200; deft in custody



   Plaintiff
   USA                                represented by Alexander Mamoru Max Uballez
                                                     U.S. Attorney's Office
                                                     201 Third Street NW
                                                     Suite 900
                                                     Albuquerque, NM 87102
                                                     505−224−1444
                                                     Fax: 505−346−7296
                                                     Email: alexander.uballez@usdoj.gov
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Retained

                                                    Jack Burkhead
                                                    U.S. Attorney's Office
                                                    P.O. Box 607
                                                    Albuquerque, NM 87103
                                                    505−346−7274
                                                    Fax: 505−346−7296
                                                    Email: jack.e.burkhead@usdoj.gov
                                                    TERMINATED: 01/16/2019
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Retained

                                                    Paul Mysliwiec
                                                    U.S. Attorney's Office
                                                    P.O. Box 607
                                                    Albuquerque, NM 87103
                                                    505−346−7274
                                                    Fax: 505−346−7296
                                                    Email: paul.mysliwiec@usdoj.gov

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                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained

   Date Filed   #    Page Docket Text
   12/19/2018    1        COMPLAINT as to Michael Nissen (1). (cl) [1:18−mj−04031−SCY] (Entered:
                          12/19/2018)
   12/20/2018             Arrest of Michael Nissen (nm) [1:18−mj−04031−SCY] (Entered: 12/20/2018)
   12/20/2018             Initial Appearance as to Michael Nissen set for 12/20/2018 at 09:30 AM in
                          Albuquerque − 320 Rio Grande Courtroom before Magistrate Judge Steven C.
                          Yarbrough. (nm) [1:18−mj−04031−SCY] (Entered: 12/20/2018)
   12/20/2018    3        Clerk's Minutes before Magistrate Judge Steven C. Yarbrough: Initial
                          Appearance as to Michael Nissen held; Preliminary/Detention Hearing set for
                          12/21/2018 at 09:30 AM in Albuquerque − 320 Rio Grande Courtroom
                          (Recording Info: Liberty − Rio Grande) (kd) [1:18−mj−04031−SCY]
                          (Entered: 12/20/2018)
   12/20/2018    4        ORAL ORDER of Temporary Detention pending hearing as to Michael
                          Nissen by Magistrate Judge Steven C. Yarbrough (kd)
                          [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                          [1:18−mj−04031−SCY] (Entered: 12/20/2018)
   12/20/2018    5        Arrest Warrant Returned Executed on 12/19/2018 as to Michael Nissen. (cl)
                          [1:18−mj−04031−SCY] (Entered: 12/20/2018)
   12/20/2018    7        ORDER APPOINTING FEDERAL PUBLIC DEFENDER Melissa Ayn
                          Morris for Michael Nissen by Magistrate Judge Steven C. Yarbrough (nm)
                          [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                          [1:18−mj−04031−SCY] (Entered: 12/20/2018)
   12/21/2018    8        WAIVER of Preliminary Hearing by Michael Nissen (cl)
                          [1:18−mj−04031−SCY] (Entered: 12/21/2018)
   12/21/2018    9        Clerk's Minutes before Magistrate Judge Steven C. Yarbrough:
                          Preliminary/Detention Hearing as to Michael Nissen held; deft waives
                          preliminary hearing; Probable Cause found; deft remanded to custody of
                          USMS (Recording Info: Liberty − Rio Grande) (kd) [1:18−mj−04031−SCY]
                          (Entered: 12/21/2018)
   12/21/2018   10        ORDER OF DETENTION as to Michael Nissen by Magistrate Judge Steven
                          C. Yarbrough (kd) [1:18−mj−04031−SCY] (Entered: 12/21/2018)
   01/10/2019   12        REDACTED INDICTMENT as to Michael Nissen. (nm) (Entered:
                          01/11/2019)
   01/11/2019             Arraignment as to Michael Nissen set for 1/15/2019 at 09:30 AM in
                          Albuquerque − 320 Rio Grande Courtroom before Magistrate Judge Karen B.
                          Molzen. (nm) (Entered: 01/11/2019)
   01/15/2019   13        Clerk's Minutes for proceedings held before Magistrate Judge Karen B.
                          Molzen: Arraignment as to Michael Nissen (1) Count 1−2 held on 1/15/2019
                          (Recording Info: Rio Grande) (emr) (Entered: 01/15/2019)


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   01/15/2019   14     DISCOVERY ORDER as to Michael Nissen by Magistrate Judge Karen B.
                       Molzen (emr) (Entered: 01/15/2019)
   01/16/2019   15     NOTICE of Attorney Substitution: Paul Mysliwiec substituted for Jack
                       Burkhead (Mysliwiec, Paul) (Entered: 01/16/2019)
   01/16/2019          Attorney update in case as to Michael Nissen. Attorney Paul Mysliwiec for
                       USA added. Attorney Jack Burkhead terminated. (vv) (Entered: 01/16/2019)
   01/17/2019   16     NOTICE OF HEARING as to Michael Nissen: Jury Selection/Trial set for
                       3/18/2019 at 09:00 AM in Albuquerque − 460 Vermejo Courtroom before
                       District Judge James O. Browning. (vv) (Entered: 01/17/2019)
   03/28/2019   21     ORDER Substituting Kenneth A. Gleria and Jack Mkhitarian for Melissa A.
                       Morris as to Michael Nissen by Magistrate Judge Steven C. Yarbrough (nm)
                       (Entered: 03/29/2019)
   04/24/2019   22     MOTION for Bill of Particulars by Michael Nissen. (Gleria, Kenneth)
                       (Entered: 04/24/2019)
   04/28/2019   23     RESPONSE in Opposition by USA as to Michael Nissen re 22 MOTION for
                       Bill of Particulars (Mysliwiec, Paul) (Entered: 04/28/2019)
   05/15/2019   24     MOTION to Dismiss for Lack of Jurisdiction by Michael Nissen. (Mkhitarian,
                       Hakop) (Entered: 05/15/2019)
   05/15/2019   25     MOTION to Dismiss Indictment by Michael Nissen. (Mkhitarian, Hakop)
                       (Entered: 05/15/2019)
   05/23/2019   26     First MOTION for Reconsideration Motion to Reconsider Detention Order
                       and Request for Hearing by Michael Nissen. (Gleria, Kenneth) (Entered:
                       05/23/2019)
   05/23/2019   27     RESPONSE in Opposition by USA as to Michael Nissen re 26 First MOTION
                       for Reconsideration Motion to Reconsider Detention Order and Request for
                       Hearing (Mysliwiec, Paul) (Entered: 05/23/2019)
   05/28/2019   28     RESPONSE in Opposition by USA as to Michael Nissen re 25 MOTION to
                       Dismiss Indictment, 24 MOTION to Dismiss for Lack of Jurisdiction
                       (Attachments: # 1 Exhibit T−Mobile Switch Information)(Mysliwiec, Paul)
                       (Entered: 05/28/2019)
   06/11/2019   30     NOTICE OF HEARING as to Michael Nissen: Competency Hearing set for
                       6/25/2019 at 08:30 AM in Albuquerque − 460 Vermejo Courtroom before
                       District Judge James O. Browning. (cab)
                       [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                       (Entered: 06/11/2019)
   06/14/2019   31     First MOTION to Continue Trial by Michael Nissen. (Mkhitarian, Hakop)
                       (Entered: 06/14/2019)
   06/14/2019   32     First MOTION to Continue Competency Hearing by Michael Nissen.
                       (Mkhitarian, Hakop) (Entered: 06/14/2019)
   06/17/2019   33     ORDER TO CONTINUE by District Judge James O. Browning granting 31
                       First MOTION to Continue Trial. Jury Trial rescheduled for 7/24/2019 at
                       09:00 AM in Albuquerque − 460 Vermejo Courtroom before District Judge


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                       James O. Browning. (vv) (Entered: 06/17/2019)
   06/18/2019   34     ORDER by District Judge James O. Browning granting 32 Motion to Continue
                       as to Michael Nissen (1) Competency Hearing set for 7/16/2019 at 10:30 AM
                       in Albuquerque − 460 Vermejo Courtroom before District Judge James O.
                       Browning. (vv) (Entered: 06/18/2019)
   07/16/2019   35     NOTICE OF HEARING ON MOTION in case as to Michael Nissen 26 First
                       MOTION for Reconsideration Motion to Reconsider Detention Order and
                       Request for Hearing, 22 MOTION for Bill of Particulars , 24 MOTION to
                       Dismiss for Lack of Jurisdiction , 25 MOTION to Dismiss Indictment: Motion
                       Hearing set for 7/16/2019 at 10:31 AM in Albuquerque − 460 Vermejo
                       Courtroom before District Judge James O. Browning. (cab)
                       [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                       (Entered: 07/16/2019)
   07/16/2019   36     Clerk's Minutes for proceedings held before District Judge James O.
                       Browning: Competency Hearing as to Michael Nissen held on 7/16/2019
                       (Court Reporter: J Bean) (vv) (Entered: 07/16/2019)
   07/16/2019   37     NOTICE OF HEARING ON MOTION in case as to Michael Nissen 24
                       MOTION to Dismiss for Lack of Jurisdiction , 25 MOTION to Dismiss
                       Indictment: Motion Hearing set for 7/26/2019 at 10:00 AM in Albuquerque −
                       460 Vermejo Courtroom before District Judge James O. Browning. (cab)
                       [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                       (Entered: 07/16/2019)
   07/16/2019   38     NOTICE OF HEARING as to Michael Nissen: Pretrial Conference set for
                       7/26/2019 at 10:00 AM in Albuquerque − 460 Vermejo Courtroom before
                       District Judge James O. Browning. (cab)
                       [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                       (Entered: 07/16/2019)
   07/17/2019   39     Unopposed MOTION to Continue Trial of July 24, 2019 by Michael Nissen.
                       (Gleria, Kenneth) (Entered: 07/17/2019)
   07/26/2019   40     Stipulated ORDER to finding of competency as to Michael Nissen by District
                       Judge James O. Browning (vv) (Entered: 07/26/2019)
   07/26/2019   41     ORDER TO CONTINUE by District Judge James O. Browning granting 39
                       Unopposed MOTION to Continue Trial of July 24, 2019. Jury Trial reset for
                       8/5/2019 at 09:00 AM in Albuquerque − 460 Vermejo Courtroom before
                       District Judge James O. Browning. (vv) (Entered: 07/26/2019)
   07/26/2019   43     Clerk's Minutes for proceedings held before District Judge James O.
                       Browning: Motion Hearing re 24 25 Motions to Dismiss and Pretrial
                       Conference held as to Michael Nissen on 7/26/2019 (Court Reporter: J Bean)
                       (vv) (Entered: 07/29/2019)
   07/27/2019   42     Unopposed MOTION to Continue Trial of August 5, 2019 by Michael Nissen.
                       (Gleria, Kenneth) (Entered: 07/27/2019)
   07/29/2019   44     NOTICE OF ATTORNEY APPEARANCE Alexander Mamoru Max Uballez
                       appearing for USA. (Uballez, Alexander) (Entered: 07/29/2019)
   07/29/2019          Attorney update in case as to Michael Nissen. Attorney Alexander Mamoru


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                       Max Uballez for USA added. (vv) (Entered: 07/29/2019)
   07/29/2019   45     ORDER TO CONTINUE by District Judge James O. Browning granting 42
                       Unopposed MOTION to Continue Trial of August 5, 2019. Jury Trial reset for
                       8/6/2019 at 08:30 AM in Albuquerque − 460 Vermejo Courtroom before
                       District Judge James O. Browning. (vv) (Entered: 07/29/2019)
   07/29/2019   46     First MOTION in Limine , 404B Notice and Notice of Res Gestae Evidence by
                       USA as to Michael Nissen. (Mysliwiec, Paul) (Entered: 07/29/2019)
   07/29/2019   47     Proposed Voir Dire by USA as to Michael Nissen (Mysliwiec, Paul) (Entered:
                       07/29/2019)
   07/30/2019   48     WITNESS LIST by USA as to Michael Nissen (Mysliwiec, Paul) (Entered:
                       07/30/2019)
   07/30/2019   49     EXHIBIT LIST by USA as to Michael Nissen (Mysliwiec, Paul) (Entered:
                       07/30/2019)
   07/30/2019   50     NOTICE OF HEARING ON MOTION in case as to Michael Nissen 46 First
                       MOTION in Limine , 404B Notice and Notice of Res Gestae Evidence :
                       Motion Hearing set for 8/5/2019 at 03:30 PM in Albuquerque − 460 Vermejo
                       Courtroom before District Judge James O. Browning. (cab)
                       [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                       (Entered: 07/30/2019)
   07/30/2019   51     NOTICE OF HEARING as to Michael Nissen: DAY 2 Jury Trial set for
                       8/7/2019 at 08:30 AM in Albuquerque − 460 Vermejo Courtroom before
                       District Judge James O. Browning. (cab)
                       [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                       (Entered: 07/30/2019)
   07/31/2019   52     Proposed Voir Dire by Michael Nissen (Gleria, Kenneth) (Entered:
                       07/31/2019)
   07/31/2019   53     Proposed Jury Instructions by USA as to Michael Nissen (Mysliwiec, Paul)
                       (Entered: 07/31/2019)
   07/31/2019   54     RESPONSE in Opposition by Michael Nissen re 46 First MOTION in Limine
                       , 404B Notice and Notice of Res Gestae Evidence (Gleria, Kenneth) (Entered:
                       07/31/2019)
   08/01/2019   55     MOTION to Dismiss by Michael Nissen. (vv) (Entered: 08/01/2019)
   08/01/2019   56     NOTICE OF HEARING ON MOTION in case as to Michael Nissen 55
                       MOTION to Dismiss, 46 First MOTION in Limine , 404B Notice and Notice
                       of Res Gestae Evidence: Motion Hearing set for 8/1/2019 at 04:00 PM in
                       Albuquerque − 460 Vermejo Courtroom before District Judge James O.
                       Browning. (cab)
                       [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                       (Entered: 08/01/2019)
   08/01/2019   57     EXHIBIT LIST by USA as to Michael Nissen (Mysliwiec, Paul) (Entered:
                       08/01/2019)
   08/02/2019   58     Clerk's Minutes for proceedings held before District Judge James O.
                       Browning: Motion Hearing held on 8/2/2019 re 55 MOTION to Dismiss, and


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                       46 First MOTION in Limine , 404B Notice and Notice of Res Gestae Evidence
                       filed by USA (Court Reporter: M. Seal) (vv) (Entered: 08/02/2019)
   08/02/2019   59     Court's First Proposed Preliminary Jury Instructions with citations as to
                       Michael Nissen by District Judge James O. Browning (vv) (Entered:
                       08/02/2019)
   08/05/2019   60     EXHIBIT LIST by USA as to Michael Nissen (Mysliwiec, Paul) (Entered:
                       08/05/2019)
   08/05/2019   61     Email as to Michael Nissen (vv) (Entered: 08/05/2019)
   08/06/2019   62     Court's First Proposed Jury Instructions [with citations] as to Michael Nissen
                       by District Judge James O. Browning (vv) (Entered: 08/06/2019)
   08/06/2019   63     Court's First Proposed Jury Instructions with citations as to Michael Nissen by
                       District Judge James O. Browning (vv) (Entered: 08/06/2019)
   08/06/2019   70     Clerk's Minutes for proceedings held before District Judge James O.
                       Browning: Jury Selection/Trial as to Michael Nissen held on 8/6/2019 and
                       8/7/2019. (Court Reporter: J Bean) (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                       Exhibit) (vv) (Entered: 08/08/2019)
   08/07/2019   64     Court's Second Proposed Preliminary Jury Instructions (cab) (Entered:
                       08/07/2019)
   08/07/2019   65     Court's First Proposed Jury Instructions by District Judge James O. Browning
                       (cab) (Entered: 08/07/2019)
   08/07/2019   66     Court's Second Proposed Jury Instructions by District Judge James O.
                       Browning (cab) (Entered: 08/07/2019)
   08/07/2019   67     Court's Third Proposed Jury Instructions with citations as to Michael Nissen
                       by District Judge James O. Browning (vv) (Entered: 08/07/2019)
   08/07/2019   68     Court's Second Proposed Jury Instructions with citations as to Michael Nissen
                       by District Judge James O. Browning (vv) (Entered: 08/08/2019)
   08/07/2019   69     Court's Final Jury Instructions with citations as to Michael Nissen by District
                       Judge James O. Browning (vv) (Entered: 08/08/2019)
   08/07/2019   71     RETURN OF EXHIBITS to counsel (vv) (Entered: 08/08/2019)
   08/07/2019   73     JURY VERDICT (vv) (Entered: 08/08/2019)
   08/13/2019          U.S. Probation and Pretrial Services added as interested party.(Bartholomew,
                       Michael) (Entered: 08/13/2019)
   08/13/2019   74     LETTER as to Michael Nissen (vv) (Entered: 08/13/2019)
   08/19/2019   75     Court's Final Preliminary Jury Instructions with citations as to Michael Nissen
                       by District Judge James O. Browning (vv) (Entered: 08/19/2019)
   08/21/2019   76     First MOTION to Withdraw as Attorney by Kenneth A. Gleria and Jack
                       Mkhitarian by Michael Nissen. (Gleria, Kenneth) (Entered: 08/21/2019)
   08/26/2019   77     SUPPLEMENT re 76 First MOTION to Withdraw as Attorney by Kenneth A.
                       Gleria and Jack Mkhitarian (vv) (Entered: 08/26/2019)


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    08/28/2019   78     MEMORANDUM in Opposition by USA as to Michael Nissen re 76 First
                        MOTION to Withdraw as Attorney by Kenneth A. Gleria and Jack Mkhitarian
                        , Motion to Appoint Specific CJA Counsel of Defendant's Choice (Mysliwiec,
                        Paul) (Entered: 08/28/2019)
    09/04/2019   79     MOTION to Appoint Counsel by Michael Nissen. (vv) (Entered: 09/05/2019)
    09/11/2019   80     ORDER by District Judge James O. Browning granting 76 Motion to
                        Withdraw as Attorney. Jack Mkhitarian; Kenneth Gleria withdrawn from case
                        as to Michael Nissen (1) (vv) (Entered: 09/11/2019)
    09/17/2019   81     CJA Appointment of Attorney Susan M. Porter for Michael Nissen by District
                        Judge James O. Browning (vv)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 09/17/2019)
    10/07/2019   84     NOTICE OF HEARING as to Michael Nissen: Sentencing set for 11/8/2019 at
                        08:30 AM in Albuquerque − 460 Vermejo Courtroom before District Judge
                        James O. Browning. (cjw)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 10/07/2019)
    10/08/2019   85     MEMORANDUM OPINION AND ORDER re 64 Proposed Jury Instructions
                        as to Michael Nissen by District Judge James O. Browning (vv) (Entered:
                        10/08/2019)
    10/16/2019   86     Unopposed MOTION to Continue Sentencing by USA as to Michael Nissen.
                        (Mysliwiec, Paul) (Entered: 10/16/2019)
    10/21/2019   87     ORDER by District Judge James O. Browning granting 86 Motion to Continue
                        Sentencing Hearing at a later date as to Michael Nissen (1) (meq) (Entered:
                        10/21/2019)
    11/21/2019   90     OBJECTION TO PRESENTENCE INVESTIGATION REPORT by USA as
                        to Michael Nissen (Mysliwiec, Paul) (Entered: 11/21/2019)
    11/21/2019   91     NOTICE OF HEARING as to Michael Nissen: Sentencing set for 12/13/2019
                        at 10:00 AM in Albuquerque − 460 Vermejo Courtroom before District Judge
                        James O. Browning. (cjw)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 11/21/2019)
    12/05/2019   93     Unopposed MOTION to Continue Sentencing by Michael Nissen. (Porter,
                        Susan) (Entered: 12/05/2019)
    12/05/2019   94     TRANSCRIPT of Trial Proceedings as to Michael Nissen held on August 6,
                        2019, before District Judge James O. Browning. Court Reporter/Transcriber
                        Jennifer Bean, Telephone number 505−348−2283. Transcript may be viewed
                        at the Clerk's Office public terminal or purchased through the Court
                        Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                        After that date it may be obtained through PACER.

                                PLEASE TAKE NOTICE that each party now has seven
                                (7) calendar days to file a Notice of Intent to Request
                                Redaction of any personal identifiers from this transcript.
                                If no notice is filed during this seven−day period, the court


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                                will assume that redaction of personal data is not
                                necessary and will make the transcript electronically
                                available, as is, to the public after 90 days. For additional
                                guidance, PLEASE REVIEW the complete policy, located
                                in the CM/ECF Administrative Procedures Manual at
                                https://www.nmd.uscourts.gov.

                        Notice of Intent to Request Redaction set for 12/12/2019. Redaction Request
                        due 12/26/2019. Redacted Transcript Deadline set for 1/6/2020. Release of
                        Transcript Restriction set for 3/4/2020. (jab) (Entered: 12/05/2019)
    12/05/2019    95    TRANSCRIPT of Trial Proceedings as to Michael Nissen held on August 7,
                        2019, before District Judge James O. Browning. Court Reporter/Transcriber
                        Jennifer Bean, Telephone number 505−348−2283. Transcript may be viewed
                        at the Clerk's Office public terminal or purchased through the Court
                        Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                        After that date it may be obtained through PACER.

                                PLEASE TAKE NOTICE that each party now has seven
                                (7) calendar days to file a Notice of Intent to Request
                                Redaction of any personal identifiers from this transcript.
                                If no notice is filed during this seven−day period, the court
                                will assume that redaction of personal data is not
                                necessary and will make the transcript electronically
                                available, as is, to the public after 90 days. For additional
                                guidance, PLEASE REVIEW the complete policy, located
                                in the CM/ECF Administrative Procedures Manual at
                                https://www.nmd.uscourts.gov.

                        Notice of Intent to Request Redaction set for 12/12/2019. Redaction Request
                        due 12/26/2019. Redacted Transcript Deadline set for 1/6/2020. Release of
                        Transcript Restriction set for 3/4/2020. (jab) (Entered: 12/05/2019)
    12/06/2019    96    ORDER by District Judge James O. Browning granting 93 Motion to Continue
                        as to Michael Nissen (1) (vv) (Entered: 12/09/2019)
    12/09/2019    97    NOTICE OF HEARING as to Defendant Michael Nissen: Sentencing set for
                        1/15/2020 at 08:30 AM in Albuquerque − 460 Vermejo Courtroom before
                        District Judge James O. Browning. (cjw) (Entered: 12/09/2019)
    12/30/2019    98    MOTION for Discovery of Grand Jury Minutes by Michael Nissen. (cmm)
                        (Entered: 12/30/2019)
    01/08/2020    99    RESPONSE in Opposition by USA as to Michael Nissen re 98 MOTION for
                        Discovery (Mysliwiec, Paul) (Entered: 01/08/2020)
    01/08/2020   100    MOTION to Withdraw as Attorney by Susan M. Porter by Michael Nissen.
                        (Porter, Susan) (Entered: 01/08/2020)
    01/09/2020   101    MEMORANDUM OPINION AND ORDER denying 22 MOTION for Bill of
                        Particulars , 24 MOTION to Dismiss for Lack of Jurisdiction , 25 MOTION to
                        Dismiss Indictment by District Judge James O. Browning (vv) (Entered:
                        01/09/2020)
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                        NOTICE OF HEARING ON MOTION in case as to Michael Nissen 100
                        MOTION to Withdraw as Attorney by Susan M. Porter : Motion Hearing set
                        for 1/15/2020 at 08:30 AM in Albuquerque − 460 Vermejo Courtroom before
                        District Judge James O. Browning. (cjw)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 01/10/2020)
    01/10/2020   103    AMENDED NOTICE OF HEARING ON MOTION in case as to Michael
                        Nissen 100 MOTION to Withdraw as Attorney by Susan M. Porter, 98
                        MOTION for Discovery : Motion Hearing set for 1/15/2020 at 08:31 AM in
                        Albuquerque − 460 Vermejo Courtroom before District Judge James O.
                        Browning. (cjw)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 01/10/2020)
    01/15/2020   104    Clerk's Minutes for proceedings held before District Judge James O.
                        Browning: Motion Hearing as to Michael Nissen held on 1/15/2020 re 100
                        MOTION to Withdraw as Attorney by Susan M. Porter filed by Michael
                        Nissen, 98 MOTION for Discovery filed by Michael Nissen (Court Reporter: J
                        Bean) (vv) (Entered: 01/15/2020)
    01/15/2020   105    Clerk's Minutes for proceedings held before District Judge James O.
                        Browning: Sentencing Hearing Continued as to Michael Nissen held on
                        1/15/2020 (Court Reporter: J Bean) (vv) (Entered: 01/15/2020)
    01/15/2020   106    MOTION for leave to Amend by addendum by Michael Nissen. (vv) (Entered:
                        01/15/2020)
    01/17/2020   108    CJA Appointment of Attorney Joe M. Romero, Jr for Michael Nissen by
                        District Judge James O. Browning (vv)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 01/17/2020)
    01/24/2020   109    MOTION to Dismiss Information on two counts by Michael Nissen. (vv)
                        (Entered: 01/24/2020)
    01/24/2020   110    MOTION for judgment of acquittal after guilty verdict or, in the alternative,
                        for New Trial by Michael Nissen. (vv) (Entered: 01/24/2020)
    01/27/2020   111    MOTION for Acquittal or to dismiss Information of two counts by Michael
                        Nissen. (vv) (Entered: 01/27/2020)
    02/06/2020   112    MOTION for Acquittal by Michael Nissen. (vv) (Entered: 02/06/2020)
    02/19/2020   113    MOTION to Dismiss information of illegal convictions on counts I and II by
                        Michael Nissen. (vv) (Entered: 02/19/2020)
    02/20/2020   114    TRANSCRIPT of Motion Proceedings as to Michael Nissen held on January
                        15, 2020, before District Judge James O. Browning. Court
                        Reporter/Transcriber Jennifer Bean, Telephone number 505−348−2283.
                        Transcript may be viewed at the Clerk's Office public terminal or purchased
                        through the Court Reporter/Transcriber before the deadline for Release of
                        Transcript Restriction. After that date it may be obtained through PACER.

                                PLEASE TAKE NOTICE that each party now has seven
                                (7) calendar days to file a Notice of Intent to Request


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                                Redaction of any personal identifiers from this transcript.
                                If no notice is filed during this seven−day period, the court
                                will assume that redaction of personal data is not
                                necessary and will make the transcript electronically
                                available, as is, to the public after 90 days. For additional
                                guidance, PLEASE REVIEW the complete policy, located
                                in the CM/ECF Administrative Procedures Manual at
                                https://www.nmd.uscourts.gov.

                        Notice of Intent to Request Redaction set for 2/27/2020. Redaction Request
                        due 3/12/2020. Redacted Transcript Deadline set for 3/23/2020. Release of
                        Transcript Restriction set for 5/20/2020. (jab) (Entered: 02/20/2020)
    02/24/2020          Attorney update in case as to Michael Nissen. Attorney Susan M. Porter
                        terminated. (vv) (Entered: 02/24/2020)
    02/25/2020   115    NOTICE OF HEARING ON MOTION in case as to Defendant Michael
                        Nissen 113 MOTION to Dismiss, 110 MOTION for New Trial, 109 MOTION
                        to Dismiss, 112 MOTION for Acquittal, 111 MOTION for Acquittal, 106
                        MOTION to Amend/Correct, 98 MOTION for Discovery : Motions Hearing
                        set for 3/23/2020 at 08:30 AM in Albuquerque − 460 Vermejo Courtroom
                        before District Judge James O. Browning. (cjw)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 02/25/2020)
    02/25/2020   116    NOTICE OF HEARING as to Defendant Michael Nissen: Sentencing set for
                        3/23/2020 at 08:31 AM in Albuquerque − 460 Vermejo Courtroom before
                        District Judge James O. Browning. (cjw)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 02/25/2020)
    02/26/2020   117    Second MOTION to Continue Sentencing by USA as to Michael Nissen.
                        (Mysliwiec, Paul) (Entered: 02/26/2020)
    02/27/2020   118    AFFIDAVIT by Michael Nissen (vv) (Entered: 02/27/2020)
    02/28/2020   119    RESPONSE in Opposition by USA as to Michael Nissen re 106 MOTION to
                        Amend/Correct, 110 MOTION for New Trial, 113 MOTION to Dismiss, 109
                        MOTION to Dismiss, 111 MOTION for Acquittal, 112 MOTION for
                        Acquittal (Mysliwiec, Paul) (Entered: 02/28/2020)
    03/02/2020   120    Mail Returned as Undeliverable re 113 MOTION to Dismiss. Mail sent to
                        Michael Nissen (bap) (Entered: 03/02/2020)
    03/06/2020   121    ORDER by District Judge James O. Browning granting 117 Motion to
                        Continue as to Michael Nissen (1) (vv) (Entered: 03/06/2020)
    03/06/2020   122    ORDER by District Judge James O. Browning granting 100 MOTION to
                        Withdraw as Attorney by Susan M. Porter filed by Michael Nissen (vv)
                        (Entered: 03/06/2020)
    03/13/2020   125    MOTION for leave to proceed pursuant to 28 USC 1915 by Michael Nissen.
                        (vv) (Entered: 03/13/2020)
    03/13/2020   126    AFFIDAVIT by Michael Nissen (vv) (Entered: 03/13/2020)



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    03/20/2020   128    AMENDED NOTICE OF HEARING ON MOTION in case as to Defendant
                        Michael Nissen 113 MOTION to Dismiss, 125 MOTION for Order, 110
                        MOTION for New Trial, 109 MOTION to Dismiss, 111 MOTION for
                        Acquittal, 112 MOTION for Acquittal, 106 MOTION to Amend/Correct, 98
                        MOTION for Discovery : Motion Hearing set for 3/23/2020 at 08:30 AM in
                        Albuquerque − 460 Vermejo Courtroom before District Judge James O.
                        Browning. (cjw)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 03/20/2020)
    03/23/2020   129    NOTICE of email re transport of Michael Nissen for motion hearing for today
                        (bap) (Entered: 03/23/2020)
    03/23/2020   130    NOTICE OF HEARING as to Defendant Michael Nissen: Sentencing set for
                        5/7/2020 at 02:30 PM in Albuquerque − 460 Vermejo Courtroom before
                        District Judge James O. Browning. (cjw)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 03/23/2020)
    03/23/2020   131    Clerk's Minutes for proceedings held before District Judge James O.
                        Browning: Motion Hearing as to Michael Nissen held on 3/23/2020 re 98 106
                        109 110 111 112 113 125 (Court Reporter: J Bean) (vv) (Entered: 03/23/2020)
    04/06/2020   132    TRANSCRIPT of Motion Proceedings as to Michael Nissen held on March
                        23, 2020, before District Judge James O. Browning. Court
                        Reporter/Transcriber Jennifer Bean, Telephone number 505−348−2283.
                        Transcript may be viewed at the Clerk's Office public terminal or purchased
                        through the Court Reporter/Transcriber before the deadline for Release of
                        Transcript Restriction. After that date it may be obtained through PACER.

                                PLEASE TAKE NOTICE that each party now has seven
                                (7) calendar days to file a Notice of Intent to Request
                                Redaction of any personal identifiers from this transcript.
                                If no notice is filed during this seven−day period, the court
                                will assume that redaction of personal data is not
                                necessary and will make the transcript electronically
                                available, as is, to the public after 90 days. For additional
                                guidance, PLEASE REVIEW the complete policy, located
                                in the CM/ECF Administrative Procedures Manual at
                                https://www.nmd.uscourts.gov.

                        Notice of Intent to Request Redaction set for 4/13/2020. Redaction Request
                        due 4/27/2020. Redacted Transcript Deadline set for 5/7/2020. Release of
                        Transcript Restriction set for 7/6/2020. (jab) (Entered: 04/06/2020)
    04/21/2020   135    MEMORANDUM OPINION AND ORDER denying 111 MOTION for
                        Acquittal, 110 MOTION for New Trial, 98 MOTION for Discovery, 79
                        MOTION to Appoint Counsel, 113 MOTION to Dismiss, 112 MOTION for
                        Acquittal, 106 MOTION to Amend/Correct, 109 MOTION to Dismiss.
                        Related Document(s): 106 MOTION to Amend/Correct, 110 MOTION for
                        New Trial, 113 MOTION to Dismiss, 109 MOTION to Dismiss, 98 MOTION
                        for Discovery, 79 MOTION to Appoint Counsel, 111 MOTION for Acquittal,
                        112 MOTION for Acquittal as to Michael Nissen by District Judge James O.
                        Browning (vv) (Entered: 04/21/2020)

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    04/30/2020   136    MOTION for Downward Departure by Michael Nissen. (Romero, Joe)
                        (Entered: 04/30/2020)
    05/04/2020   138    NOTICE OF HEARING ON MOTION in case as to Defendant Michael
                        Nissen 137 Second MOTION for Psychiatric/Psychological Exam : Motion
                        Hearing set for 5/7/2020 at 02:30 PM in Albuquerque − 460 Vermejo
                        Courtroom before District Judge James O. Browning. (cjw)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 05/04/2020)
    05/05/2020   139    RESPONSE in Opposition by USA as to Michael Nissen re 137 Second
                        MOTION for Psychiatric/Psychological Exam (Mysliwiec, Paul) (Entered:
                        05/05/2020)
    05/07/2020   143    LETTERS of support as to Michael Nissen (vv) (Entered: 05/07/2020)
    05/07/2020   144    Clerk's Minutes for proceedings held before District Judge James O.
                        Browning: Motion Hearing as to Michael Nissen held on 5/7/2020 re 137
                        Second MOTION for Psychiatric/Psychological Exam filed by Michael Nissen
                        (Court Reporter: R Brazil) (vv) (Entered: 05/07/2020)
    05/26/2020   145    LETTER as to Michael Nissen (vv) (Entered: 05/26/2020)
    06/03/2020   146    MEMORANDUM OPINION AND ORDER Re 90 Objection to Presentence
                        Investigation Report as to Michael Nissen by District Judge James O.
                        Browning (vv) (Entered: 06/04/2020)
    07/02/2020   149    Opinion of illegal conviction memorandum by Michael Nissen (vv) (Entered:
                        07/02/2020)
    07/02/2020   150    LETTER as to Michael Nissen (vv) (Entered: 07/02/2020)
    07/14/2020   152    LETTER as to Michael Nissen (vv) (Entered: 07/14/2020)
    10/26/2020   153    LETTER as to Michael Nissen (vv) (Entered: 10/26/2020)
    01/29/2021   154    LETTER as to Michael Nissen (vv) (Entered: 01/29/2021)
    01/29/2021   155    NOTICE of immediate extinguishment by Michael Nissen (vv) (Entered:
                        01/29/2021)
    01/29/2021   156    NOTICE of Interest by Michael Nissen (vv) (Entered: 01/29/2021)
    01/29/2021   157    LETTER as to Michael Nissen (vv) (Entered: 01/29/2021)
    01/29/2021   158    AFFIDAVIT of truth by Michael Nissen (vv) (Entered: 01/29/2021)
    01/29/2021   159    AFFIDAVIT of status by Michael Nissen (vv) (Entered: 01/29/2021)
    01/29/2021   160    Declaration of Truth by Michael Nissen (vv) (Entered: 01/29/2021)
    01/29/2021   161    Declaration of Status by Michael Nissen (vv) (Entered: 01/29/2021)
    01/29/2021   162    Statement of Interest by Michael Nissen (vv) (Entered: 01/29/2021)
    01/29/2021   163    Non statutory abatement of persona designata by Michael Nissen (vv)
                        (Entered: 01/29/2021)
    02/16/2021   164    NOTICE by Michael Nissen (vv) (Entered: 02/16/2021)


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    03/12/2021   165    NOTICE by Michael Nissen (vv) (Entered: 03/12/2021)
    03/12/2021   166    NOTICE by Michael Nissen (vv) (Entered: 03/12/2021)
    03/15/2021   168    LETTER as to Michael Nissen (vv) (Entered: 03/15/2021)
    04/26/2021   171    NOTICE to Michael Nissen (vv) (Entered: 04/26/2021)
    04/26/2021   172    NOTICE by Michael Nissen (vv) (Entered: 04/26/2021)
    04/26/2021   173    NOTICE −Writ of Order by Michael Nissen (vv) (Entered: 04/26/2021)
    04/29/2021   174    NOTICE OF HEARING ON Motion to Determine Counsel 170 set for
                        5/7/2021 at 01:30 AM in Albuquerque − 460 Vermejo Courtroom before
                        District Judge James O. Browning.

                        Should a party wish to appear remotely for this hearing they shall notify the
                        Court by filing a written notice no later than 5/5/2021 indicating the preferred
                        method of attendance (via telephone, via Zoom or any other desired method).
                        Counsel for the Defendant is responsible for notifying the Court of the means
                        by which the Defendant will appear. Upon receipt of notification that one or
                        more of the party(ies) wishes to appear remotely via Zoom the Court will
                        schedule the Zoom session and provide connectivity details to the parties
                        through separate notice/communication. Parties wishing to appear
                        telephonically can connect to the hearing by contacting (888) 684−8852
                        Access Code: 5469085
                        In addition, should a Defendant wish to appear remotely, defense counsel shall
                        secure a signed Waiver of Appearance from the Defendant and that shall be
                        filed no later than 24 hours prior to the hearing.
                        Absent notification as indicated above, the Court will presume an in−person
                        appearance is intended and plan accordingly.(lr)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 04/29/2021)
    04/29/2021   175    NOTICE of Sentencing Hearing scheduled for 6/18/2021 at 01:30 PM in
                        Albuquerque − 460 Vermejo Courtroom before District Judge James O.
                        Browning.

                        Should a party wish to appear remotely for this hearing they shall notify the
                        Court by filing a written notice no later than 6/16/2021 indicating the preferred
                        method of attendance (via telephone, via Zoom or any other desired method).
                        Counsel for the Defendant is responsible for notifying the Court of the means
                        by which the Defendant will appear. Upon receipt of notification that one or
                        more of the party(ies) wishes to appear remotely via Zoom the Court will
                        schedule the Zoom session and provide connectivity details to the parties
                        through separate notice/communication. Parties wishing to appear
                        telephonically can connect to the hearing by contacting (888) 684−8852
                        Access Code: 5469085
                        In addition, should a Defendant wish to appear remotely, defense counsel shall
                        secure a signed Waiver of Appearance from the Defendant and that shall be
                        filed no later than 24 hours prior to the hearing.
                        Absent notification as indicated above, the Court will presume an in−person
                        appearance is intended and plan accordingly.(lr)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 04/29/2021)

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    04/29/2021   176    AMENDED NOTICE OF HEARING on 170 MOTION to Withdraw as
                        Attorney Motion to Determine Counsel scheduled for 5/7/2021 at 01:30 PM in
                        Albuquerque − 460 Vermejo Courtroom before District Judge James O.
                        Browning.

                        Should a party wish to appear remotely for this hearing they shall notify the
                        Court by filing a written notice no later than 5/5/2021 indicating the preferred
                        method of attendance (via telephone, via Zoom or any other desired method).
                        Counsel for the Defendant is responsible for notifying the Court of the means
                        by which the Defendant will appear. Upon receipt of notification that one or
                        more of the party(ies) wishes to appear remotely via Zoom the Court will
                        schedule the Zoom session and provide connectivity details to the parties
                        through separate notice/communication. Parties wishing to appear
                        telephonically can connect to the hearing by contacting (888) 684−8852
                        Access Code: 5469085
                        In addition, should a Defendant wish to appear remotely, defense counsel shall
                        secure a signed Waiver of Appearance from the Defendant and that shall be
                        filed no later than 24 hours prior to the hearing.
                        Absent notification as indicated above, the Court will presume an in−person
                        appearance is intended and plan accordingly.(lr)
                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]
                        (Entered: 04/29/2021)
    05/04/2021   177    NOTICE by Michael Nissen (vv) (Entered: 05/04/2021)
    05/11/2021   178    LETTER as to Michael Nissen (vv) (Entered: 05/11/2021)
    05/17/2021   179    AFFIDAVIT by Michael Nissen (vv) (Entered: 05/17/2021)
    05/24/2021   180    Declaration by Michael Nissen (vv) (Entered: 05/24/2021)
    05/25/2021   181    AFFIDAVIT of competency and status by Michael Nissen (vv) (Entered:
                        05/25/2021)
    05/28/2021   184    Clerk's Minutes for proceedings held before District Judge James O.
                        Browning: Motion Hearing as to Michael Nissen held on 5/28/2021 re 170
                        MOTION to Withdraw as Attorney Motion to Determine Counsel by Joe M.
                        Romero, Jr. filed by Michael Nissen (Court Reporter: J Bean) (vv) (Entered:
                        05/28/2021)
    06/01/2021   186    NOTICE of Motion to Dismiss by Michael Nissen (Attachments: # 1
                        Letter)(bap) (Entered: 06/01/2021)
    06/01/2021   187    AFFIDAVIT of Due Process Violations by Michael Nissen (bap) (Entered:
                        06/01/2021)
    06/01/2021   188    MOTION to Vacate under 28 U.S.C. 2255 by Michael Nissen. (bap)
                        Civil case 1:21−cv−00505−JB opened. (Entered: 06/01/2021)
    06/01/2021          Judge update in case as to Michael Nissen. United States Magistrate Judge
                        Stephan M. Vidmar added. (jg) (Entered: 06/01/2021)
    06/01/2021   189    PLEASE TAKE NOTICE that subsequent documents related to 188 MOTION
                        to Vacate under 28 U.S.C. 2255 should be filed into the civil case only, with
                        the exception of the order disposing of the motion which should be filed to
                        both the civil and criminal case in which the challenged judgment was entered.

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                        [THIS IS A TEXT−ONLY ENTRY. THERE ARE NO DOCUMENTS ATTACHED.]          (jg)
                        (Entered: 06/01/2021)
    06/04/2021   190    NOTICE of show cause by Michael Nissen (vv) (Entered: 06/04/2021)
    06/04/2021   191    NOTICE by Michael Nissen (vv) (Entered: 06/04/2021)
    06/04/2021   192    AFFIDAVIT by Michael Nissen (vv) (Entered: 06/04/2021)
    06/04/2021   193    AFFIDAVIT by Michael Nissen (vv) (Entered: 06/04/2021)
    06/04/2021   194    AFFIDAVIT by Michael Nissen (vv) (Entered: 06/04/2021)
    06/04/2021   195    Declaration by Michael Nissen (vv) (Entered: 06/04/2021)
    06/04/2021   196    Declaration by Michael Nissen (vv) (Entered: 06/04/2021)
    06/04/2021   197    Clearfield doctrine in full force by Michael Nissen (vv) (Entered: 06/04/2021)
    06/07/2021   198    SENTENCING MEMORANDUM by Michael Nissen (Romero, Joe)
                        (Entered: 06/07/2021)
    06/08/2021   199    ORDER finding Michael Nissen competent by District Judge James O.
                        Browning (vv) (Entered: 06/08/2021)
    06/09/2021   200    SENTENCING MEMORANDUM by USA as to Michael Nissen (Mysliwiec,
                        Paul) (Entered: 06/09/2021)
    06/10/2021   201    AFFIDAVIT by Michael Nissen (vv) (Entered: 06/10/2021)
    06/10/2021   202    Declaration by Michael Nissen (vv) (Entered: 06/10/2021)
    06/16/2021   204    AFFIDAVIT by Michael Nissen of formal objection to the United States final
                        PSR Objection and sentencing memorandum (vv) (Entered: 06/16/2021)
    06/16/2021   205    Declaration Decree by Michael Nissen (vv) (Entered: 06/16/2021)
    06/17/2021   206    AFFIDAVIT by Michael Nissen (vv) (Entered: 06/17/2021)
    06/18/2021   207    MEMORANDUM OPINION AND ORDER by District Judge James O.
                        Browning; the objection in Defendant's Affidavit of Formal Objections to
                        Second Addendum to the Presentence Report 194 , and the objection in United
                        States' Final PSR Objection and Sentencing Memorandum 200 are overruled.
                        (lr) (Entered: 06/18/2021)
    06/18/2021   213    Clerk's Minutes for proceedings held before District Judge James O.
                        Browning: Sentencing held on 6/18/2021 for Michael Nissen (1), 1, 2,
                        SENTENCE IMPOSED: CBOP−41 months concurrent; Supervised Release−3
                        years concurrent; SPA−$200; deft in custody. (Court Reporter: J Bean) (vv)
                        (Entered: 06/30/2021)
    06/23/2021   208    AFFIDAVIT by Michael Nissen (vv) (Entered: 06/23/2021)
    06/28/2021   209    NOTICE by Michael Nissen (vv) (Entered: 06/28/2021)
    06/30/2021   210    MEMORANDUM OPINION AND ORDER dismissing 188 MOTION to
                        Vacate under 28 U.S.C. 2255 as to Michael Nissen by District Judge James O.
                        Browning (vv) (Entered: 06/30/2021)



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    06/30/2021   211    FINAL JUDGMENT as to Michael Nissen by District Judge James O.
                        Browning (vv) (Entered: 06/30/2021)
    06/30/2021   212    LETTER as to Michael Nissen (vv) (Entered: 06/30/2021)
    07/06/2021   214    NOTICE OF APPEAL by Michael Nissen re 207 Order (Appeal Fee Not
                        Paid.) (vv) (Entered: 07/07/2021)
    07/07/2021   215    Transmission of Preliminary Record as to Michael Nissen to US Court of
                        Appeals re 214 Notice of Appeal − Final Judgment (Attachments: # 1 Exhibit,
                        # 2 Exhibit)(vv) (Entered: 07/07/2021)
    07/07/2021   216    USCA Information Letter with Case Number as to Michael Nissen 21−2079
                        for 214 Notice of Appeal − Final Judgment filed by Michael Nissen. (vv)
                        (Entered: 07/07/2021)
    07/08/2021   217    ORDER OF USCA as to Michael Nissen − the matter is abated (vv) (Entered:
                        07/08/2021)
    07/27/2021   218    UNSEALED MEMORANDUM OPINION AND ORDER by District Judge
                        James O. Browning granting 137 Second MOTION for
                        Psychiatric/Psychological Exam as to Michael Nissen and Committing deft to
                        the custody of the Attorney General for treatment and evaluation (bap)
                        (Entered: 07/27/2021)
    08/03/2021   219    AFFIDAVIT of Formal OBJECTION re 218 Memorandum Opinion and
                        Order, (bap) (Entered: 08/03/2021)
    08/18/2021   221    MEMORANDUM OPINION AND ORDER by District Judge James O.
                        Browning that: (i) the Affidavit of Due Process of Law Violation for
                        Excluding Movant from Proceedings on Ruling Dismissing 28 U.S.C. § 2255,
                        filed July 6, 2021 (CIV Doc. 10), is denied; (ii) the Affidavit of Formal
                        Objection of Memorandum Opinion of Order and Final Judgment, filed July 9,
                        2021 (CIV Doc. 11), is denied; (iii) the Notice of Motion to Leave for
                        Addendum to 28 U.S.C. § 2255 Motion, filed August 2, 2021 (Doc. 16), is
                        denied; (iv) the Notice of Motion to Leave for 3rd Addendum to 28 U.S.C. §
                        2255 Motion, filed August 9, 2021 (Doc. 16), is denied;and (v) the Clerk of
                        the Court is directed to transmit a copy of this Memorandum Opinion and
                        Order to the United States Court of Appeals for the Tenth Circuit as a
                        supplemental record. (bap) (Entered: 08/18/2021)
    08/18/2021   222    Supplemental Record on Appeal transmitted to US Court of Appeals in 1
                        Volume(s), as to Michael Nissen re 214 Notice of Appeal − Final Judgment
                        (bap) (Entered: 08/18/2021)
    08/19/2021   223    MEMORANDUM OPINION AND ORDER by District Judge James O.
                        Browning denying 170 MOTION to Withdraw as Attorney Motion to
                        Determine Counsel by Joe M. Romero, Jr. as to Michael Nissen (bap)
                        (Entered: 08/19/2021)
    08/25/2021   224    AFFIDAVIT by Michael Nissen Concerning the Professional Malconduct
                        Actions of Judge James O. Browning, Joe Romero Jr., Esquire 223
                        Memorandum Opinion and Order (bap) (Entered: 08/25/2021)
    08/26/2021   225    AFFIDAVIT OF OBJECTION re 221 Memorandum Opinion and Order, by
                        Michael James Nissen (bap) (Entered: 08/26/2021)


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    08/27/2021   226    JUDGMENT as to Michael Nissen by District Judge James O. Browning
                        (jmg) (Entered: 08/27/2021)
    08/29/2021   227    NOTICE OF APPEAL − Final Judgment (Filing Fee− Waived) by Michael
                        Nissen re 226 Judgment (Romero, Joe) Modified text on 8/30/2021 (Wrong
                        Event was used, appeal documents will NOT be linked properly) (bap).
                        (Entered: 08/29/2021)




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